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     JENNIFER C. NOBLE, ESQ., CSBN 256952
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3      Davis, California 95618
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5    Attorney for Defendant
     JANIS SANTANA PIRT
6

7
                                   IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
                                            SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                      ) Case No. CR. S-11 -00468 TLN
12                                                  )
                                                    )
13                                                  ) AMENDED STIPULATION AND ORDER
                                     Plaintiff,     ) CONTINUING SENTENCING HEARING
14                                                  )
             v.                                     )
15                                                  ) Time: 9:30 a.m.
     JANIS SANTANA PIRT, et al.                     ) Date: March 20, 2014
16                                                  ) Judge: Hon. Troy L. Nunley
                                                    )
17                                   Defendant.     )
                                                    )
18                                                  )
19

20
              IT IS HEREBY STIPULATED by and between the parties, UNITED STATES OF
21
     AMERICA, through its undersigned counsels of record, Assistant United States Attorney
22
     Michael D. Anderson, and defendant JANIS SANTANA PIRT, through her undersigned
23
     counsel of record, Joseph J. Wiseman, that the Sentencing Hearing presently set for
24
     March 20, 2014, be continued to May 22, 2014, at 9:30 a.m.
25
              The parties are entering this Stipulation due to a conflict with the March 20, 2014
26
     date.
27
     /////
28
     /////



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     Stipulation and Order to                                     Case No. CR. S-11-00468 TLN
     Continue Sentencing Hearing
       Case 2:11-cr-00468-TLN Document 107 Filed 03/17/14 Page 2 of 3


1    IT IS SO STIPULATED.
2

3    Dated: March 13, 2014              Respectfully submitted,
4
                                        WISEMAN LAW GROUP, P.C.
5
                                        By: /s/ Joseph J. Wiseman
6                                       JOSEPH J. WISEMAN
7
                                        Attorney for Defendant
8                                       Janis Santana Pirt

9

10
     Dated: March 13, 2014              Benjamin B. Wagner
11                                      United States Attorney

12                                      By: /s/ Michael D. Anderson
                                        MICHAEL D. ANDERSON
13
                                        Assistant U.S. Attorney
14

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     Stipulation and Order to                           Case No. CR. S-11-00468 TLN
     Continue Sentencing Hearing
       Case 2:11-cr-00468-TLN Document 107 Filed 03/17/14 Page 3 of 3


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     JANIS SANTANA PIRT
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7                                  IN THE UNITED STATES DISTRICT COURT
8                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9                                           SACRAMENTO DIVISION
10    UNITED STATES OF AMERICA,                     ) Case No. CR-11-00468 TLN
                                                    )
11                                                  )
                                                    ) STIPULATION AND ORDER
12                                   Plaintiff,     ) CONTINUING SENTENCING HEARING
                                                    )
13          v.                                      )
                                                    ) Time: 9:30 a.m.
14   JANIS SANTANA PIRT, et al.                     ) Date: March 20, 2014
                                                    ) Judge: Hon. Troy L. Nunley
15                                   Defendant.     )
                                                    )
16                                                  )
                                                    )
17

18            GOOD CAUSE APPEARING, it is hereby ordered that the Sentencing Hearing in
19   the above-captioned case for defendant JANIS SANTANA PIRT, presently set for March
20   20, 2014, at 9:30 a.m., be continued to May 22, 2014 at 9:30 a.m.
21   IT IS SO ORDERED.
22   Dated: March 14, 2014
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26                                                           Troy L. Nunley
                                                             United States District Judge
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     Stipulation and Order to                                     Case No. CR. S-11-00468 TLN
     Continue Sentencing Hearing
